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~ AO 245A   (Rev. 12/03) Judgment of Acquittal



                                      UNITED STATES DISTRICT COURT

_ _ _ _ _ _E_A_S_T_E_R_N
                       _ _ _ _ _ _ DISTRICT OF _ _ _ _ _ _A_R_K_A_N_S_A_S_ _ _ _ __

        UNITED STATES OF AMERICA
                                                                  JUDGMENT OF ACQUITTAL
                               v.
                      LESTER DITTO
                                                                  CASE NUMBER: 4:11 cr00072-02 JMM




       The Defendant was found not guilty. IT IS ORDERED that the Defendant is acquitted, discharged,
and any bond exonerated.



                                                                                     FILED
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 JAMES M. MOODY U.S. DISTRICT JUDGE
Name of Judge                                    Title of Judge

7/30/2012
                                    Date
